IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

DOCKET NO.:: 3:20cr99

UNITED STATES OF AMERICA )
)
v. ) CONSENT ORDER AND
) JUDGMENT OF FORFEITURE
LARRY DARNELL MCVAY )

BASED UPON the Defendant’s plea of guilty and finding that there is a nexus between
the property listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or other
legal interest in the property, IT IS HEREBY ORDERED THAT:

l. The following property is forfeited to the United States pursuant to 18 U.S.C. § 924
and/or 28 U.S.C. § 2461(c), provided, however, that forfeiture of specific assets is subject to any
and all third party petitions under 21 U.S.C. § 853(n), pending final adjudication herein:

One Smith & Wesson, model SD40VE, 40 caliber pistol, serial number FWN7357
and ammunition seized from Defendant on or about August 29, 2018.

2. The United States Marshals Service, the investigative agency, and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

3. If and to the extent required by Fed. R. Crim. P. 32.2(b)(6), 21 U.S.C. § 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forfeiture.

4, Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity of the alleged interest.

5. Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this order, the United States
Attorney’s Office is authorized to conduct any discovery needed to identify, locate, or dispose of
the property, including depositions, interrogatories, and request for production of documents, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

6. As to any specific assets, following the Court’s disposition of all timely petitions,
a final order of forfeiture shall be entered. If no third party files a timely petition, this order shall
become the final order of forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2), and the United
States shall have clear title to the property, and shall dispose of the property according to law.

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The parties stipulate and agree that the aforementioned asset(s) constitute property
involved in or used in the offense(s) and are therefore subject to forfeiture pursuant to 18 U.S.C.
§ 924 and/or 28 U.S.C. § 2461(c). The Defendant hereby waives the requirements of Fed. R. Crim.
P. 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument, announcement of
the forfeiture at sentencing, and incorporation of the forfeiture in the judgment against Defendant.
If the Defendant has previously submitted a claim in response to an administrative forfeiture
proceeding regarding any of this property, Defendant hereby withdraws that claim. If Defendant
has not previously submitted such a claim, Defendant hereby waives all right to do so. As to any
firearms listed above and/or in the charging instrument, Defendant consents to destruction by
federal, state, or local law enforcement authorities upon such legal process as they, in their sole
discretion deem to legally sufficient, and waives any and all right to further notice of such process
or such destruction.

R. ANDREW MURRAY
UNITED STATH#S ATT@RNEY

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STEPHANIE L.'SPAUGH LARRY DARNELL MCVAY
Assistant United States Attorney

 

 

 

Attorney for Defendant

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Date:__November 9, 2020 _ ea {| ee

David S. Cayer ()
United States Magistrate Judge

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